
667 S.E.2d 233 (2008)
STATE of North Carolina
v.
Jeffrey A. MORTON.
No. 288P08.
Supreme Court of North Carolina.
August 26, 2008.
Jeffrey A. Morton, Pro Se.
Catherine F. Jordan, Assistant Attorney General, James C. Gaither, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 17th day of June 2008 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*234 "Dismissed by order of the Court in conference, this the 26th day of August 2008."
